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                                                Tuesday, October 26, 2021

     VIA ECF
     Honorable Matthew J. Skahill
     United States District Court of New Jersey
     4th & Cooper Streets
     Camden, NJ 08101

               Re:       Angelina Porter v. Express Scripts, Inc., et al.
                         Docket No.: 1:20-cv-14555-NLH-JS

     Dear Judge Skahill:

             As the Court is aware, this firm represents the Plaintiff in the above-indicated matter. On
     September 20, 2021, after the parties reported that they had reached a settlement of the claims,
     the Court entered a 60-Day Order. Unfortunately, the Defendant has not fulfilled its obligations
     under the agreement and has not responded to communications from our office. Accordingly, we
     write to the Court to make two requests. First, we write to request that the Court extend the 60-
     Day Order by an additional 60 days, or alternatively, for the Court to retain jurisdiction to
     enforce settlement. Secondly, we write to request that the Court schedule a telephonic
     conference to address these issues. At such conference, Plaintiff intends to seek leave to file a
     motion to enforce settlement. We thank the Court for its attention to this matter.

                                                 Respectfully submitted,

                                     COSTELLO & MAINS, LLC
                                      By: /Daniel T. Silverman
                                         Daniel Silverman
     cc: John K. Bennett, Esq. (via ECF)
         Angelina Porter (via email)

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